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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                 Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                              Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,             Magistrate Judge Scott D. Johnson

         Defendant.



                               NOTICE OF SUBSTITUTION

       Nancy Landry, by and through undersigned counsel, hereby notifies the Court that R.

Kyle Ardoin no longer holds the office of Secretary of State for Louisiana and that she, as the

successor in office and current Secretary of State for Louisiana, pursuant to Rule 25(d) of the

Federal Rules of Civil Procedure, is automatically substituted as a party in the above-captioned

matter. Secretary Landry respectfully requests that all future filings be served through her

undersigned counsel.

       Respectfully submitted, this the 9th day of January, 2024.

                                            /s/ Phillip J. Strach
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                             official capacity as Secretary of State of Louisiana




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